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 AO 442 (Rev. 11/11) Arrest Warrant



                                                                       UNITED STATES DISTRICT COURT
                                                                                                 for the

                                                                                           District of Oregon                     SEALED
                      United States of America
                                                      V.                                           )
                                                                                                   )       Case No.    3:20-cr-00520-Sl-02
                                                                                                   )
                                                                                                   )
                     ABRAN RAYA LEON , et al
                                                                                                   )
                                                                                                   )
                                          Defendant


                                                                                     ARREST WARRANT
 To:        Any authorized law enforcement officer


            YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)                                                  ABRAN RAYA LEON
who is accused of an offense or violation based on the following document filed with the court:

~ Indictment                      0          Superseding Indictment                       0 Information         0 Superseding Information           0 Complaint
0 Probation Violation Petition                                             0 Supervised Release Violation Petition      0 Violation Notice          0 Order of the Court

This offense is briefly described as follows:


   Possession of Counterfeit Postal Service Arrow Keys
   Possession of Stolen Mail




Date:_-=.l=l/-=-12=/=20=2=--=0_ _                                                                                                 s/P. Scheneman
                                                                                                                              Issuing officer's signature

City and State: --'PC....o"""rt~la=n""'d""',._O~re=g""o'-'n.c....__ _                                                    P. Scheneman, Deputy Clerk
                                                                                                                                Printed name and title


                                                                                                Return

          This warrant was received on (date)
at (city and state)


Date:    ---------1,~~f-',-,,..,




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